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                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT
                              LEWIS F. POWELL, JR. UNITED STATES COURTHOUSE ANNEX
                                         1100 EAST MAIN STREET, SUITE 501
                                          RICHMOND, VIRGINIA 23219-3517
                                             WWW.CA4.USCOURTS.GOV

        PATRICIA S. CONNOR                                                                       TELEPHONE
             CLERK                                                                             (804) 916-2700
                                                   July 23, 2010



        Ms. Paulette Martin
        USMS #38350-037
        USP Hazelton – SFF
        P. O. Box 3000
        Bruceton Mills, West Virginia 26525

               Re:     No. 07-4060, US v. Paulette Martin
                              8:04-cr-00235-RWT

        Dear Ms. Martin:

                The Court received correspondence from you on July 22, 2010 regarding the redacted
        transcript. Under federal court policy, deadlines are set for redacting social security numbers,
        financial account numbers, dates of birth, names of minor children, and certain home addresses
        when the transcript is initially filed. At the conclusion of the redaction period, the transcript is
        again filed and made available to the public. Typically, there is no data requiring redaction from
        transcripts, but the policy ensures that time is made available to review the transcript for this
        purpose before the transcript is made available as a public record.

                                                      Sincerely,

                                                      /s/ Patricia S. Connor


        PSC/cwe

        cc:    Michael D. Montemarano, Esquire
